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                          Liquidation Analysis Pg 1 of 3




                              EXHIBIT C
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                           JOE’S PLACE OF THE BRONX, NY, INC.,
                                    Case No. 17-11542-mg


                    Liquidation Analysis As of May 31, 2019
Estimated Liquidation Value of Assets

Assets:
a. Cash on hand                                        $    48,008.00

b. Accounts receivable                                 $     7,000.00

c. Inventory                                           $     10,500.00

d. Office furniture & equipment                        $           0.00

e. Machinery & Restaurant equipment                    $    30,000.00

f. Automobiles                                         $      7500.00

g. Building & Land                                     $           0.00

h. Customer list                                       $           0.00

i. Investment property
   (such as stocks, bonds or other financial assets)   $           0.00

j. Lawsuits or other claims against third-parties      $           0.00

k. Lawsuits or other claims against third-parties      $          00.00
l. Other intangibles
   (such as avoiding powers actions)           $           0.00

       Total Assets at Liquidation Value               $    103,008.00

Less:
Secured creditors’ recoveries                          $            0.00

Chapter 7 trustee fees and expenses*                   $      8,600.00

Chapter 11 Administrative Expenses                     $     20,000.00

Priority and Secured Tax Claims
(excluding Administrative Expense claims)              $   3,129,839.19
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                                  Liquidation Analysis Pg 3 of 3



Total Secured, Administrative, Priority Claims $ 3,158,49.19

        (1) Balance available for unsecured claims    $ 0.00

        (2) Total dollar amount of unsecured claims $ $139, 858.26

Percentage of Claims Which Unsecured Creditors
Would Receive Or Retain in a Chapter 7 Liquidation:            0 % [Divide (1) by (2)]

Percentage of Claims Which Unsecured Creditors
Will Receive under the Plan:                                   10 %

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*Estimated at 10% of total liquidation assets
